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 1    PHILLIP A. TALBERT
      United States Attorney
 2    KIMBERLY A. SANCHEZ
      Assistant United States Attorney
 3    2500 Tulare Street, Suite 4401
      Fresno, CA 93721
 4    Telephone: (559) 497-4000
      Facsimile: (559) 497-4099
 5
      Attorneys for Plaintiff
 6    United States of America

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 8                                     IN THE UNITED STATES DISTRICT COURT

 9                                       EASTERN DISTRICT OF CALIFORNIA

10

11    UNITED STATES OF AMERICA,                           No. 1:15-CR-00169-DAD-BAM

12                                        Plaintiff,      PRELIMINARY ORDER OF FORFEITURE

13                               v.

14    JORGE MARISCAL,

15                                        Defendant.

16

17             Based upon the plea agreement, bill of particulars for forfeiture of property, and the

18    stipulation and application for preliminary order of forfeiture entered into between plaintiff

19    United States of America and defendant Jorge Mariscal, it is hereby ORDERED,

20    ADJUDGED AND DECREED as follows:

21             1.       Pursuant to 21 U.S.C. § 853(a), defendant Jorge Mariscal’s interest in the

22    following property shall be condemned and forfeited to the United States of America, to be

23    disposed of according to law:

24                      a. Approximately $3,500.00 in U.S. Currency.

25             2.       The above-listed property constitutes or is derived from any proceeds obtained

26    by the defendant, directly or indirectly, and is property used, intended to be used, in any

27    manner or part, to commit, or to facilitate the commission of, or was in a conspiracy to

28    commit, a violation of 21 U.S.C. §§ 846 and 841(a)(1).
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 1             3.       Pursuant to Rule 32.2(b), the Attorney General (or a designee) shall be

 2    authorized to seize the above-listed property. The aforementioned property shall be seized

 3    and held by the United States Marshals Service in its secure custody and control.

 4             4.       a.       Pursuant to 21 U.S.C. § 853(n), and Local Rule 171, the United States

 5    shall publish notice of the order of forfeiture. Notice of this Order and notice of the Attorney

 6    General’s (or a designee’s) intent to dispose of the property in such manner as the Attorney

 7    General may direct shall be posted for at least 30 consecutive days on the official internet

 8    government forfeiture site www.forfeiture.gov. The United States may also, to the extent

 9    practicable, provide direct written notice to any person known to have alleged an interest in

10    the property that is the subject of the order of forfeiture as a substitute for published notice as

11    to those persons so notified.

12                      b.       This notice shall state that any person, other than the defendant, asserting a

13    legal interest in the above-listed property, must file a petition with the Court within sixty (60)

14    days from the first day of publication of the Notice of Forfeiture posted on the official

15    government forfeiture site, or within thirty (30) days from receipt of direct written notice,

16    whichever is earlier.

17             5.       The government, in its discretion, shall conduct discovery, including written

18    discovery, the taking of depositions, and the issuance of subpoenas, in order to identify, locate or

19    dispose of property subject to forfeiture in accordance with Rule 32.2(b)(3) of the Federal Rules

20    of Criminal Procedure.
21             6.       The defendant waives oral pronouncement of forfeiture at the time of

22    sentencing, any defects in such pronouncement that pertain to forfeiture, and waives any

23    defenses to forfeiture.

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 1             7.       If a petition is timely filed, upon adjudication of all third-party interests, if any,

 2    this Court will enter a Final Order of Forfeiture pursuant to 21 U.S.C. § 853(a), in which all

 3    interests will be addressed.

 4    IT IS SO ORDERED.
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          Dated:       June 19, 2017
 6                                                              UNITED STATES DISTRICT JUDGE

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